     Case 1:18-cv-00950-LO-JFA Document 70 Filed 01/18/19 Page 1 of 2 PageID# 884



                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

          Plaintiffs,

v.
                                                           Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

          Defendants.




     MOTION TO COMPEL THE NUMBER OF SUBSCRIBERS COX TERMINATED FOR
         VIOLATING ITS ACCEPTABLE USE POLICY AND PAYMENT TERMS

             Pursuant to Fed. R. Civ. P. 37 and E.D. Va. Local Rule 37, Plaintiffs hereby move to

     compel Defendants Cox Communications, Inc. and CoxCom, LLC (collectively “Cox”) to state

     the number of subscribers whose internet service Cox terminated each month from 2010 through

     2014 for (i) violation of its Acceptable Use Policy, broken out by the provision of the Acceptable

     Use Policy violated, and (ii) for failure to pay for service

             For the reasons set forth in the accompanying Memorandum in Support, the Court should

     grant the motion.

                        LOCAL RULE 37(E) MEET AND CONFER STATEMENT

             Counsel for Plaintiffs sent letters to Cox regarding its deficient objections on December 10

     and 26, 2018 and January 9, 2019. The parties’ respective counsel have held multiple telephonic

     meet-and-confers, over the course of many hours, concerning Cox’s discovery responses and other

     issues. The parties have resolved several issues and others remain under consideration. Despite

     their efforts, the parties were unable to resolve all of their disputes, including the one raised by the

     instant motion.
  Case 1:18-cv-00950-LO-JFA Document 70 Filed 01/18/19 Page 2 of 2 PageID# 885



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                                                  Respectfully Submitted,


Dated January 18, 2019                            /s/ Scott A. Zebrak   /
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